Case 1:21-cr-00399-RDM Document 34-1 Filed 03/22/22 Page 1 of 2

EXHIBIT A
Case 1:21-cr-00399-RDM Document 34-1 Filed 03/22/22 Page 2 of 2

AO [36 (Rev, 10/13) Certificate of Good Standing

UNITED STATES DISTRICT COURT
for the
Eastern District of New York

CERTIFICATE OF GOOD STANDING

I, Brenna B. Mahoney , Clerk of this Court,
certify that Michael Hassard , Bar # 5824768
was duly admitted to practice in this Court on 04/30/2021 , and is in good standing as a member
of the Bar of this Court.
Dated at Brooklyn on 03/09/2022

(Location) (Date)
Brenna B. Mahoney David Afrani
CLERK OF COURT

Deputy Clerk

